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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

AARON PATTERSON, )
)
Plaintiff, )
)
Vv. ) Case No. 03-CV-4433
)
JON BURGE, et al, } Honorable Judge Gottschall,
| ) Judge Presiding
Defendants. )
} Honorable Judge Brown,
) Magistrate Judge
)
} JURY TRIAL DEMANDED
)

PROTECTIVE ORDER

Pursuant to Federal Rules of Civil Procedure 26(c) and 45 C.F.R. §§ 160 & 164, and for
the reasons set forth in the record, the Court hereby Orders:

For good cause shown, the following Orders entered in the case captioned Patterson v.
Burge, 03-CV-4433, are modified as set forth herein:

1) Order entered on 4/18/04, Dckt. No. 171:

The conclusion of the Order appearing on pages ten and eleven is modified to read as
follows:

For the foregoing reasons, the Movants’ motion for entry of a protective order is
granted as follows: The transcripts and videotapes of the Movants’ depositions
shall be held confidential with access to those depositions limited to (a) attorneys
of record in the Hobley, Patterson, and Caine v. Burge, case no, 11-CV-8996
cases and the attorneys representing the Movants; (b) the staff of those attorneys
under the attorneys’ direct supervision and responsibility; and (c) the parties to the
Hobley, Patterson, and Caine cases and the individual movanis. In the event any
party or other person seeks to file a portion or excerpt of any Movant's deposition
as part of the public record, counsel preparing the filing shall notify counsel for
the deponent sufficiently in advance so that the deponent may, if the deponent
chooses, seek a further protective order.

EXHIBIT

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IT IS SO ORDERED,

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Judge, United States District Court

    

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